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- Exhibit 4°
O10¢/T C/T

Ouv paseayop sAep pT
va OZ'OSTS

“=Q[sulsuq AGPOOOOP9IL3811P9Z1 600LLIP60D0DOOOMO=cdIuolssag A qLOp Yoreas ores /aseJUeA Pe/essApe/AOd osejUBApEEss MMM//:Sdyy

(0) [YEOpp-dZ6ZA] ‘DNI ‘MAHdIN 8 HLIWS oyDesqjuED
‘ONI ‘MAHAN 8 HLIWS 4eanyeynuey
FIOH?P JS NOHL ONTY SIVH ALWd

JTOHY ADS NOHL ONTY ATVH ALV1d 8Tsoot

 

 

OUV paaaijep sAep FT
va 6£°OTZL$

(0) [VEOrP-dZ6ZA] “ONT ’MAHdSN 8 HLIWS sope.ju0D
"ONI ‘M3Hd3N 8 HLINS ‘48snjoejnuew
D1 WW OSz Gu SaTal dvad

91 WW OSZ du SAaTaL GVeD 8oOTooT

 

 

 

(0) [VEOrb-dZ6ZA] ‘ONT “MAHAN 8 HLIWS (1079e.}U0D
“ONI ‘MAHdAN 8 HLIWS ‘dounjoesnue;w
91 WW OOT GOY DIdODSATAL

ST WA OOT dou DIdOOS3T4L OOTOOT

 

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Ouy paloayap sAep pT
va 96°ELTS

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‘aiqejeae syunoosip Ayuenb sajeoipul -

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por sauobaje5 WW

goin

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(0) [VEOpb-dZ6ZA] ‘DNI ‘MAHdSN 8 HLIWS $40}927}U05
"ONI ‘M3HdSN 8 HLIWS ainpesnuey
AdS-WWO09-dOue DIdODSaTsL

4GS-WW09-GOY IIdOISATSL 060001
PNpPoOid/ON Wed *AJIW/NSN

 

 

 

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SULID} pa ejo1 Huisn suijsy

-WEOPr-dZ6ZA 10) spnpoid TOSZ Puno

 

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~VE0rr-d/6LA THOMBOS MON

 

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(0) [VEOrb-dZ6ZA] ‘ONT ‘MAHdSN 8 HLIWS :4o}oeuU0D
“ONI ‘MAHdAN 8 HLIWS einjoenuey
ONY poleayap sAep pT WWOOT ONTY SIVH 3ALISOdWOD

va 60°S8r$ WWOOT ONIX JIVH ALISOdWOD OSETOT

 

(0) [VEO0bP-dZ6ZA] “DNI ‘MAHdSN 8 HLTWS +403;9e2]U0D
4 “ONI ‘M3HdSN 8 HLIWS ‘ainjoejnuey
 Ouy paldaljep SAEP pT O@TLX4 GAD HLIM ONTY 41VWH

Va 6b'TZ9O$ OZ@TLX3 GAD HLIM ONIY AIVH ZEETOT

 

(0) [VEOrb-dZ6ZA] ‘ONI ‘MAHdSN 8 HLIWS ‘tojoe4jU0D
‘ONI ‘MAHdAN 8 HLIWS ‘Jeunjoeynuel
OU PalaAiep SAeP FT WW O€T WVIG LNI 8/S ONTY

V4 pZ'S899$ WW O€T WWI LNI 8/S SNIY €ZETOT

 

(0) [VeObp-dZ6ZA] “DNI ‘MSHdSN 8 HLIWS ‘40}321}U0D
' ‘ONI ‘MAHdJN 8 HLIWS ‘4ainjoeynuen
! Od PA@Al[ap SABD FT WVIG INI WA OST ONT’ F1VH

va TL’psss$ WVId LNI WW OST ONIY STWH SOCTOT

 

(0) [VEObP-dZ6ZA] “DNI ‘MAHdSN 8 HLIWS 10}9e.4U0D
' "ONI ‘MAHdSN 8 HLIWS -4eunppeynuelW
OUV PeaAllep SARP HT WWOST-LYOHS-ONTY 14 dWOD

v4 98°979$ WWO9T-LYUOHS-ONIY 1d dNOD STZTOT

 

 

(0) [VEOrP-dZ6ZA] “ONT ‘MAHdSN 8 HLIWS “Jo}De4U0D
“ONI ‘MAHdAN 8 HLIWS ‘Jeangoeynuen
. OU PAOAlap SABP FT HLONS1 WW OZ JSNDOS CHL

va LL Tbs HLONAT WW 07 LANDOS GHL OCOG00T

 

 

(0) [VEObb-dZ6ZA] ‘INI ‘MAHdSN 8 HLTWS :40}9e2]U05
H ‘ONI ‘MAHdAN 8 HLIWS ‘esnjpeynuew
ee ; Ou peleayap sAep pT FTOH G SGS-NIHL-ONY ATH Ld

va OZ'OSTS J1OH § 49S-NIHL-ONY ATH Lid 228001

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G Jo 7 odeg : yoreag

 
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se , OU Paleayap sAep pT
va 66'VOT$

 
 

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WWOST GO¥’ GVAYdHL
WWOST GOU AVAYHL POeZzoT

 

(0) [VEObb-dZ6ZA] “DNI ‘MSHdAN 8 HLIWS :40}983]U0D
"DNI ‘MAHdSN 8 HLIWS ainjoejnueyw
WWS-dIIDSIG AOUVZTTT

WWS-dI1DSId AOUVZTTI Cercor

 

(0) [VEOrP-dZ6ZA] “DNI ‘MAHdSN 8 HLIWS *40}92QU0D
"ONI ‘MAHdAN 8 HLIWS ‘vaunjoesnuey
WW O0€ YaddOLS HLIM AYIM

WW OO€ YAddOLS HLIM ANIM SOTCOT

 

(0) [VEOrP-dZ6ZA] “ONI ‘MAHdSN 8 HLIWS '40};9243U0D
‘ONI ‘MAHdSN 8 HLIWS ‘aunjeynuey
WWO'T 4dS-SYIM HLOOWS

WWO'T 40S-3HIM HLOOWS 02020T

 

 

(0) [vVEOrr-dZ6ZA] “DONI ‘MAHdSN 8 HLIWS +10}9243U0D
‘ONI ‘MAHdSN 8 HLIWS ‘aanpejnuey
WWS$-1HE ALVId NNOD LYOHS

WWSP-1HE 3LV1Id NNOO LYOHS 008T0T

 

   

I Ouy paraaiap SAep HT
v4 OO'TLS$

(0) [VE0bb-dZ6ZA] “ONI ‘MAHdSN 8 HLIWS o}e4U0D
‘ONI ‘MAHdSN 8 HLIWS ‘4einpeynuey
AONIH FIVW ATI4OUd MOT

ADNIH J 1IVW ATIAOUd MOT CO9TOT

 

Owy poraayep sAep yT
v4 60°S8P$

 

(0) [VE0bP-dZ6ZA] ‘ONI ‘MAHdSN 8 HLIWS “opejnqUuOED
‘ONI ‘MAHdAN 8 HLIWS ‘4eunjoRynuepy
WWO8 ONIY AIWH ALISOdWOD

WWOS ONTY SIWH ALISOdWOD Z9ETOT

 

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¢ Jo ¢ adeg

   

Ouy paisayep sAep pT
va 0Z'689$

(0) [VEOr7b-dZ6ZA] ‘ONT ‘MAHdSN 8 HLIWS ‘oj>esUOD
‘ONI ‘MAHdSN 8 HLIWS -Jainjoejnuep,
WWO0Z ONIY F1IVH SLISOdWOD

WWOOZ ONIY SATVH ALISOdWOD 8SETOT

yoreag
OLOZ/IZ/L  “=CISuBu_ AgeOOOOPIL81 1/971 600LLIP600OOOO=caMo1ssag A dip Youwos/yorees/oFeiUeApe/essApe/A0S odevjUBApELSS MMM//:SdNY

Svezt :abed

Ou passayap sAep pT
v4 OF'6STS$

(0) [VEOvP-dZ6ZA] “DNI ‘MAHAN 8 HLIWS ‘J0}2e4]U0D
‘ONI ‘MSHdaN 8 HLIWS :4eanjoejnuep
SICNVH G3GNS.LXS ‘WWET 'HONSYM

AIGNVH G30N3LX3 ‘WWET ‘HONSYM 906Z0T

 

Ou paseayap sAep pT
v4 90°STS$

(0) [VEOPb-dZ6ZA] “DNI ‘MAHdAN 8 HLIWS +40}921]U0D
‘ONI ‘MSHd3N 8 HLIWS einjoenuen
USHSVM UVLS

UYUAHSVM UYVWLS 80ZZOT

 

OU Palealjap sAep HT
va LL'Tes$

 

(0) [VE0hP-dZ6ZA] “ONT ‘MAHGAN 8 HLIWS 140792I]U0D
‘ONI ‘MAHdAN 8 HLIWS vainjoesnuew
WWZT X WWS'T ‘YSHSWM

WWZT X WNS'T “YSHSWM 002Z0T

 

(0) [VEOrP-dZ6ZA] “DNI ‘MAHdSN 8 HLIWS $40}9284900D
“ONI ‘MAHd3N 8 HLIWS ainjoeynuey
WWOr JdS - GYHL GLIS dou

WWOP 4AgS - GHHL GL1S GOe ZTVcOT

 

 

(0) [VEObb-dZ6ZA] “ONI ‘MAHdSN 8 HLIWS +4027984]U0D
“ONI ‘MAHdAN 8 HLIWS ‘4asnjpejnuely
WWOOTGSLLOIS GOw daqvayHL

WWOOTGSLLOIS GOY GAAV3aMHL COVZOT

 

 

(0) [VEOPP-dZ6ZA] “ONT ‘MAHdSN 8 HLIWS ‘40}28.3U0D
“ONI ‘MAHdSN 8 HLIWS ‘tounjeynuey
WWOSE GOU GAGVAYHL

WWOSE GOU GAGVANHE ETECOT

 

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(0) [VEOPrP-dZ6ZA] “ONT ‘MAHdIN 8 HLIWS 403921309
‘ONI ‘M3HdSN 8 HLIWS ‘4asnpeynuel

yoreag

 
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